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                                      United States Bankruptcy Court
                                      Northern District of Florida
In re:                                                                                  Case No. 19-10197-KKS
William Baker Lockeby                                                                   Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 1129-1           User: admin                  Page 1 of 2                   Date Rcvd: Nov 05, 2019
                               Form ID: 318                 Total Noticed: 42


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 07, 2019.
db             +William Baker Lockeby,    17701 April Blvd,    Alachua Fl 32615,    Alachua, FL 32615-4842
smg            +U.S. Attorney (Tallahassee Office),     111 N. Adams Street,    Fourth Floor,
                 Tallahassee, FL 32301-7736
2297693         ALLDATA,   PO BOX 848379,    Dallas, TX 75284-8379
2297696       ++AMERICAN TIRE DISTRIBUTORS,    12200 HERBERT WAYNE CT STE 150,     HUNTERSVILLE NC 28078-6397
               (address filed with court: ATD,     12200 Herbert Wayne Court,     Suite 150,
                 Huntersville, NC 28078)
2297697        +AUTOZONE INC.,   2400 Veterans Memorial Blvd., Ste 300,      Kenner, LA 70062-8725
2297692         Advance Professional,    P.O. Box 742063,    Atlanta, GA 30374-2063
2297694        +Altus Global Trade Solutions,    2400 Veterans Memorial Blvd., Ste 300,      Kenner, LA 70062-8725
2297695        +Aramark,   2680 Palumbo Drive,    Lexington, KY 40509-1234
2297698        +Battery Distributors Southeast Inc.,     250 Lane Avenue North,    Jacksonville, FL 32254-2815
2297700         Car Quest Auto Parts Store,    P.O. Box 404875,    Atlanta, GA 30384-4875
2297702        +Cox Communications,    6205-B Peachtree Dunwoody Road. Atlanta,     Atlanta, GA 30328-4524
2297704        +GRU,   Gainesville Regional Utilities,     301 SE 4 Avenue,    Gainesville, FL 32601-6857
2297705        +H-1 Auto Care, LLC,    7430 East Butherus Drive,    Suite B,    Scottsdale, AZ 85260-2450
2297706        +Hitachi,   7808 Creekridge Circle,    Suite 250,    Edina, MN 55439-2647
2297708        +Jeffrey E. Ference PA,    14283 SW 4th Place,    Newberry, FL 32669-3394
2297709         LKQ Southeast Inc.,    4686 E. U.S. Highway 90 (State Rd),     Lake City, FL 32055
2297710        +MARCADIS SINGER,    5104 SOUTH WESTSHORE BLVD,    Tampa, FL 33611-5650
2297711        +MARCI WHITE,   150 WYOMING AVENUE,    Maplewood, NJ 07040-1046
2297713        +MUD & ROCK OFF ROAD GAINESVILLE, LLC,     150 WYOMING AVE,    Maplewood, NJ 07040-1046
2297712        +MUD & ROCK OFF ROAD GAINESVILLE, LLC,     2290 NE 1st Blvd,    Gainesville, FL 32609-3602
2297714        +NORTH COUNTRY TIRE AMERICA TIRE DIST,     5104 SOUTH WESTSHOREBLVD,    Tampa, FL 33611-5650
2297715        +OReilly Auto Parts,    150 Wyoming Ave,    Maplewood, NJ 07040-1046
2297716        +RALEIGHNOMICS LLC,    1630 WEST UNIVERSITY AVE,    Gainesville, FL 32603-1840
2297717         Safety CleanSystems Inc.,    P.O. Box 650509,    Dallas, TX 75265-0509
2297720        +TPH The Parts House,    10321 Fortune Parkway,    Jacksonville, FL 32256-7498
2297721         UniFirst Corporation,    317 N.E.2nd Street,    Ocala, FL 34470-5851
2297722         Universal Environtal Servives LLC,    411 Dividend Drive,     Gainesville, FL 32609-3602
2297723        +valvoline LLC,   100 Valvoline Way,     Lexington, KY 40509-2714

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             EDI: FLDEPREV.COM Nov 06 2019 08:03:00      Florida Dept. of Labor/Employment Security,
                 c/o Florida Dept. of Revenue,    P.O. Box 6668,   Tallahassee, FL 32314-6668
smg             EDI: FLDEPREV.COM Nov 06 2019 08:03:00      Florida Dept. of Revenue,    Bankruptcy Unit,
                 P.O. Box 6668,   Tallahassee, FL 32314-6668
2297699        +EDI: CAPITALONE.COM Nov 06 2019 08:03:00      Capital One,   Attn: Bankruptcy,    Po Box 30285,
                 Salt Lake City, UT 84130-0285
2297701        +EDI: CITICORP.COM Nov 06 2019 08:03:00      Citibank/The Home Depot,
                 Attn: Recovery/Centralized Bankruptcy,    Po Box 790034,   St Louis, MO 63179-0034
2309005         EDI: DISCOVER.COM Nov 06 2019 08:03:00      Discover Bank,   Discover Products Inc,
                 PO Box 3025,   New Albany, OH 43054-3025
2297703        +EDI: DISCOVER.COM Nov 06 2019 08:03:00      Discover Financial,    Po Box 3025,
                 New Albany, OH 43054-3025
2297707        +E-mail/Text: ipfscollectionsreferrals@ipfs.com Nov 06 2019 03:21:15       IPFS Corporation,
                 52 Corporate Circle,   Suite 208,    Albany, NY 12203
2297718        +EDI: RMSC.COM Nov 06 2019 08:03:00      Synchrony Bank/Sams Club,    Attn: Bankruptcy Dept,
                 Po Box 965060,   Orlando, FL 32896-5060
2297719        +E-mail/Text: marisa.sheppard@timepayment.com Nov 06 2019 03:21:12       Time Payment Corporation,
                 1600 District Avenue,   Suite 200,    Burlington, MA 01803-5233
2297724         E-mail/Text: wcacredit@wcamerica.com Nov 06 2019 03:21:15       WCA Waste Corporation,
                 Detroit, MI 48255-3166
2297726         EDI: WFFC.COM Nov 06 2019 08:03:00      Wells Fargo Bank,   Attn: Bankruptcy Dept,     Po Box 6429,
                 Greenville, SC 29606
2297725        +EDI: WFFC.COM Nov 06 2019 08:03:00      Wells Fargo Bank,   Attn: Bankruptcy,    Po Box 10438,
                 Des Moines, IA 50306-0438
2315028        +EDI: WFFC.COM Nov 06 2019 08:03:00      Wells Fargo Bank, N.A.,
                 Small Business Lending Division,    P.O. Box 29482,   Phoenix, AZ 85038-9482
2309096        +EDI: WFFC.COM Nov 06 2019 08:03:00      Wells Fargo Bank, N.A.,    435 Ford Road, Suite 300,
                 St. Louis Park, MN 55426-4938
                                                                                              TOTAL: 14

           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                          TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).
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             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 07, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 5, 2019 at the address(es) listed below:
              Herbert Mitchell Webb, III   on behalf of Debtor William Baker Lockeby herbertmwebb@gmail.com
              Theresa M. Bender   tmbenderch7@gmail.com,
               FL62@ecfcbis.com;tbenderassist@yahoo.com;tmbenderch7@ecf.inforuptcy.com
              United States Trustee   USTPRegion21.TL.ECF@usdoj.gov
                                                                                            TOTAL: 3
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Information to identify the case:
Debtor 1              William Baker Lockeby                                       Social Security number or ITIN   xxx−xx−9517
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                          Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                  EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Florida

Case number: 19−10197−KKS



Order of Discharge                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           William Baker Lockeby

                                                                          By the court: Karen K. Specie
           11/5/19                                                                      United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.

However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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